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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________________x

GLENN C. ELFE,

                          Plaintiff,                 No. 22-CV-9385 (JGLC)

             -against-


26 MOTORS CORP.,
KYLE MERRITT,
CHINO GERMINAL LANTIGUA,
JOHN DOE #3 a/k/a MANAGER,
WELLS FARGO BANK, N.A.,
L.J. MARCHESE CHEVROLET, INC., and
MICHELLE BAILEY,
26 MOTORS QUEENS INC d/b/a 26 MOTORS,
26 MOTORS JAMAICA INC. d/b/a 26 MOTORS,
26 MOTORS LONG ISLAND LLC d/b/a 26 MOTORS,
26 MOTORS OF FRANKLIN SQUARE LLC d/b/a 26 MOTORS,
MOSHE POURAD,
YOSEF AYZENCOT and
AHARON BENHAMO,

                              Defendants.
_____________________________________________x


                         Clerk’s Certificate of Default

      I, Ruby J. Krajick, Clerk of Court of the United States District Court

for the Southern District of New York, do hereby certify that this action was

commenced on November 2, 2022, with the filing of a Complaint, and an

Amended Complaint was filed on January 31, 2023, and a Second Amended

Complaint was filed on May 12, 2023, and a copy of the summons and Second

Amended Complaint was served on Defendant Chino Germinal Lantigua, by
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affixing a copy and mailing a copy on August 8, 2023, and proof of service was

therefore filed on August 9, 2023, Document No. 86, and I further certify that

the docket entries indicate that Defendant Chino Germinal Lantigua has not

filed an answer or otherwise moved with respect to the Second Amended

Complaint herein. The default of defendant Chino Germinal Lantigua is

hereby noted pursuant to Rule 55(a) of the Federal Rules of Civil Procedure.

Dated: New York            , New York
       September 13        , 2023


                                RUBY J. KRAJICK, Clerk of Court



                                By:     ________________________________
                                              Deputy Clerk
